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UNITED STATES DISTRICT COURT

District of Arizona.

In the Matter of the Search of:

SUBJECT PARCEL: USPS Priority Express
parcel bearing USPS tracking number EJ 323 597
134 US, addressed to “Elle HaRRis, 1740 W 37th SEARCH WARRA NT Ry
place, Tulsa, OK 74107” with a return address of Case Number: o wD) ~ . =) S 5S WN
“Belle HaRRis, 6780 W DiscoveRy DR,

GleNdale, AZ 85301”. It is large box wrapped in

pink wrapping paper with a USPS Priority Mail

Express label measuring approximately 19” x 13”

x 10”; weighing approximately 15 pounds and 8

ounces; postmarked September 2, 2022; and

bearing $131.00 in postage.

TO; ANTOINE MARTEL and any Authorized Officer of the United States

Affidavit having been made before me by Affiant, Antoine Martel, UNITED STATES POSTAL INSPECTOR,
on the premises known as:

SUBJECT PARCEL: USPS Priority Express parcel bearing USPS tracking number EJ 323 597 134 US,
addressed to “Elle HaRRis, 1740 W 37th place, Tulsa, OK 74107” with a return address of “Belle HaRRis,
6780 W DiscoveRy DR, GleNdale, AZ 85301”. It is large box wrapped in pink wrapping paper with a USPS
Priority Mail Express label measuring approximately 19” x 13” x 10”; weighing approximately 15 pounds and 8
ounces; postmarked September 2, 2022; and bearing $131.00 in postage.

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, IN VIOLATION OF TITLE 21, UNITED
STATES CODE, SECTIONS 841(a)(1), 843(b) and 846, AS EVIDENCE OF SAID VIOLATIONS.

I am satisfied that the Affidavit establishes probable cause to believe that the property so described is now
concealed on the premises above described and establishes grounds for the issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or before g -2 O- a om (Date)
(not to exceed 14 days) the premises named above for the property specified, serving this warrant and making the
search in the daytime (6:00 a.m. to 10:00 p.m.), if the property be found there to seize same, leaving a copy of this
warrant and receipt for the property taken, and to prepare a written inventory of the property seized and promptly
return this warrant to any United States Magistrate Judge, District of Arizona as required by law.

9-ly ~ o a. @ 3 : 000. AW 4 at Phoenix, Arizona

Date and Time Issued City and State

HONORABLE JOHN Z, BOYLE q (Por
UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer Signature of Judicial Officer

 

 

 
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AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
22-8285MB 9/6/2022 3:45 pm USPS

 

 

 

Inventory made in the presence of :
Postal Inspectors Tony Martel and Liz Davis

 

Inventory of the property taken and name of any person(s) seized:
LABEL NUMBER GOES HERE: EJ 323 597 134 US

- diaper box wrapped with pink wrapping paper

- broken down foodsaver box

- broken down diaper box

- yellow diaper box

- clear saran wrap

- clear foodsaver bags

- brown packing tape

- yellow grease substance

- ten (10) bundles of a white crystalline substance that field tested positive for methamphetamine with a total weight
of approximately 4,640.4g

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the designated judge.

Date: 09/06/2022 fry . Y

-“ executing officer's signature

Antoine Martel, Postal Inspector
Printed name and title

 

 

 

 

 

 
